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IN THE UNITED STATES DISTRICT CouRT FOR®:U/01) ¢7 COUR)
THE SOUTHERN DISTRICT OF GEORGIA ses DY,
SAVANNAH DIVISION RP res acs
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UNITED STATES OF AMERICA

   
    

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“ CASE NO. 4:99-c?£00238416A.

Perry Dean Mason,
Defendant.

 

ORDER

On January 24, 2019, Defendant Mason filed two motions with
the Court, both seeking relief under the recently enacted First
Step Act (Docs. 135 and 136). It appears that both of
Defendant’s motions were prepared at least a week before they
were filed with this Court, having been mailed to this Court for
filing.

On January 18, 2019, the Court entered an order, sua
sponte, reducing Defendant’s 262-month custodial sentence to
time served. Defendant has since been released from custody
pursuant to that Order; such release, in fact, occurred prior to
the filing of Defendant’s First Step Act motions.

Because Defendant has already been afforded the sentence
reduction relief he sought in his motions, Defendant’s motions

are DENIED as moot.
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SO ORDERED this CE “day of Tassveney 2019.
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WILLIAM T. MOORE, JR.
JUDGE, U.S. DISTRICT COURT
